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Madcleinc C. Ball d ,-r~,»: §
25-613)4th St., A t1 "`…“" `
Astoria, NY, 11 03 a m q
203) 858-9978 §§

laintiff in Pro Sc

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
Madclcine C. Ball
Plaintiff, Casc NO.: 17 Civ. 4828 (JMF)

 

vs§
AMENDED COMPLAINT
Ncw York City Ccuncil; Rarnon
Martinez, in his individual capacity and

in his official capacity as Chief cf Staff

  
    

for Ccuncil Spcal<cr l\/lclissa l\/lark- M,.,\_.,....¢..,,;:I.;._,.:;,_W-… ...." _.~ g
~ » , .’n<,x)c si)NY
Vivcritc, DGCUMENT
and William Alatristc, in his individual EL ECTRONlCALLY FILED
capacity and in his official capacity as DOC _#'- " s
Ll;D‘.
Staff Photographer for the New York M;;;: ~…~~~

City Council Prcss Officc,
Dcfcndants.

 

Summary of Pleading - l

 

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. This Court has subject matter jurisdiction under 28 U.S.C. § 1331.

. In addition, this Court has jurisdiction over Plaintiff’s claims under the

FLSA pursuant to 29 U.S.C. § 216(b).

. This Court has supplemental jurisdiction over Plaintiffs claims under NeW

York State Law pursuant to 28 U.S.C. 1367.

VENUE

. Venue is proper pursuant to 28 U.S.C §1391 because the events giving rise

to this complaint happened in this district.

PARTIES

. Plaintiff Madeleine C. Ball Worked as a photojoumalism intern at the New

York City Council (“NYCC’V’) Press foice from June 14, 2015 to August
29, 2015. »

. The New York City Council is NeW York City’s legislative body.
. Defendant Melissa Mark-Viverito is the Speaker of the New York City

Council.

. Ramon Martinez is the Chief of Staff for Council Speaker Melissa Mark-

Viverito and upon information and belief manages payroll for NYCC

employees

. William Alatriste is the Staff Photographer at the Neyv York City Council

Press Office and Was MS. Ball’s direct supervisor.

FACTUAL ALLEGATIONS

Summary of Pleading - 2

 

 

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10 M:si 13a11 first learned of the opportunity to be a photojournalism intern for
the11\1|YCC in March 2015 when she was a junior at New York University
Mr Alatiiste was a guest speaker for her NYU photojoumalism class and
described this internship as paid and full-time. After class, Ms. Ball
approached Mr. Alatriste and asked what the rate of pay was. Mr. Alatriste
confirmed that the position was paid, but Said that he didn’t know the rate.

ll. At the time l\/Is. Ball had extremely limited financial resources

12. Ms. Ball spoke with Mr. Alatriste and he offered her the position. Before
beginning work, Mr. Alatriste personally assured l\/ls. Ball that her internship
would be a paid one. He said words to the effect of “This is a paid
inteinsliip.” With this information, Ms. Ball accepted the internship.

13. Shortly after Ms. Ball began working for the NYCC, Mr. Alatriste told her
that she had to fill out an application to continue working. (Ms. Ball
incorrectly remembered this application as a contract at the time of her
original complaint,)

14. Mr. Alatriste brought Ms. Ball to 250 Broadway, New York, NY 10007, a
government building, in order to fill out the paperwork The paperwork was
executed in his presence

15. The application was a standard work application, asking for details about
Ms. Ball such as her past employment history. (Exhibit l). lt was entitled
“Council Application for Unpaid Positions.” lt included an
acknowledgement, entitled “Orientation Packet & Acknowledgement
(Unpaid Positions)” in which Ms. Ball acknowledged she had received items
such;as an orientation packet (Exhibit J).

16. l\/lr Alatriste said that filling out this paperwork was just a formality
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necessary to work there and that l\/Is. Ball would still be paid. l\/ls. Ball

Summary of Pleading - 3

 

 

 

 

 

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signed it because she had forgone other work opportunities for the summer
and would be left without a job if she refused to sign it.

17. The only reference in these documents to Ms. Ball’s position being unpaid
was in the title of the application and acknowledgement Ms. Ball did not
assent to any stipulation that she would do unpaid work.

18. Ms. Ball later became concerned that what she signed may have been a
contract that would preclude her from compensation, and so she
continuously requested a copy throughout the time she worked at the NYCC,
but did not receive one.

19. At no point did Mr. Alatriste provide Ms. Ball with any sort of wage notice
or information detailing matters such as how much she would be paid, how
often, or if she would receive overtime, even though she repeatedly asked
for such information

20. Throughout the time that she worked at the NYCC, l\/ls. Ball would ask Mr.
Alatriste that she be paid. Ms. Ball made these requests once or twice a
week. Mr. Alatriste verbally reassured her she would be compensated, with
words to the effect of “Don’t worry, I’m working on getting you paid,” and
“You will be paid eventually.” Mr. Alatriste also through text messages and
email reassured her that she would be compensated, saying, for example,
“I’m almost certain that I’ll be able to pay your for the internship.” (sic)
(Exhibit Al) (See also Exhibits A2-A4). Mr. Alatriste however would often
become upset with Ms. Ball for requesting payment, which discouraged her
from asking even more frequently or from contacting superiors

21. Around July of 2015, Mr. Alatriste told Ms. Ball that she would be paid

$15.00 per hour for all the work she had done and would continue to do.

Summary of Pleading - 4

 

 

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22. Mr. Alatriste repeatedly asked Ms. Ball to record her hours for the purposes
of payment

23. During the time of her work at the NYCC, Ms. Ball covered press
conferences, liearings, and events concerning council member activity
throughout the city. She at times performed the same work as her paid
supervisor and took his place at times when he was unavailable Ms. Ball’s
work was valuable to the Press Office at the NYCC as her work appeared in
newspapers and social media across the city. (Exhibits Bl-B13; Cl-C6; Dl).
Multiple council members, including Defendant Melissa Mark-Viverito,
relied on her to photograph their appearances

24. Ms. Ball was required to answer her phone at all times and at inconvenient
hours (late at niglit, past midnight, or early in the moming). (Exhibits A3;

B 1-B3, B5, B9, Bl 1). She was always on-call for her work. Failure to
respond to late-night texts would result in questioning from Mr. Alatriste the
following day.

25. Ms. Ball’s job was high-stress and Mr. Alatriste would often become very
agitated about her photos being perfect and work being produced quickly, as
he depended on her work for the functioning of the NYCC’s press office.

26. Ms. Ball was not provided with formal trainings, and there was no
significant educational component of the internship besides typical on-the-
job learning Mr. Alatriste expected Ms. Ball to already know how to edit
photos, use and own a sophisticated camera, have NYPD press credentials,
and have the portfolio of a working photoj ournalist. The NYCC relied on her
skill at photography, which was not learned at this job but was instead a

reason why she was hired.

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Summary of Pleading ~ 5

 

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27 . Ms. Ball was required to learn the ropes of her job quickly, and after about a
month she began tackling photojournalism projects independently with little
instruction or supervision

28. Ms. Ball never received educational credit for the internship from her
university. She had initially planned to attempt to receive credit, but learned
that NYU did not offer credit for non-editorial journalism internships.

29. Ms. Ball continued to work despite nonpayment because l1\/lr. Alatriste
repeatedly told her that she would ultimately be paid. When Ms. Ball
suggested that she reach out to Defendant Melissa Mark-Viverito’s Chief of
Staff, Defendant Ramon Martinez, about her nonpayment, Mr. Alatriste
informed her over text message that this would be the “Worst thing you
Could do.” [sic] (Exhibit El). Mr. Alatriste repeatedly warned her that
contacting Huinan Resources or Council Speaker Melissa Mark-Viverito
about her nonpayment would result in unspecified disciplinary action.

30. Upon information and belief, Defendant Ramon Martinez was aware that
Ms. Ball was working for the NYCC and was not being paid. ln July and
August of 2015, Mr. Alatriste repeatedly stated that Mr. l\/lartinez was
apprised of the situation but was reluctant to pay her.

31. Mr. Alatriste also informed Ms. Ball that the Communications Director at
the time, Eric Koch, believed that Ms. Ball should be paid and was pushing
Mr. Martinez to pay her.

32. Around October 2015, Mr. Alatriste informed Ms. Ball that he was giving
her the title of “Assistant,” in order to ensure that she was paid. He also said
that l\/lr. Koch was now in charge of paying her. (Exhibit A2).

33. Mr. Alatriste repeatedly indicated to Ms. Ball that successful performance
during her internship might lead to her employment with the NYCC after her

Summary of Pleading - 6

 

 

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completion of college Ms. Ball also continued to work for the NYCC for
this reason,

34. After Ms. Ball’s internship ended, she continued to reach out to Mr.
Alatriste, asking to be paid. She called many times, though he never returned
her calls She asked in emails to be paid, and he responded that he would call
her about it, but never did. (Exhibit A4). Ms. Ball’s last request to be paid
was in February of 2016, which he never responded to. (Exhibit E2).
Eventually, Ms. Ball gave up, thinking there was no way she could ever
recover her lost wages

35. In total, Ms. Ball performed 23 6.25 hours of work for the NYCC from June
14, 2015 to August 29, 2015 that she was never compensated for. (Exhibit
F).

36. Ms. Ball’s hours were unpredictable, which made maintaining a second job
impossible Ms. Ball was expected to come into work whenever Mr.
Alatriste required her to. Ms. Ball did not have any set days off and was
expected to be available on weekends

37. NYCC’s failure to pay Ms. Ball for her work caused Ms. Ball significant
financial hardship

38. On a letter dated June 13, 2017, Ms. Ball outlined her complaint and request
for relief to Robin Levine, NYCC HR, NYCC Payroll, Council Member
Helen Rosenthal, Council Member Jumaane Williams, and Council Speaker
Melissa l\/lark~Viverito via postal mail and email.

39. On or around June 13, 2017, Ms. Ball also filed a complaint with the New
York City Comptroller

40. O July 5, 2017, after Ms. Ball first filed this complaint, she received a
resipqnse from Abid M Hossain, Assistant General Counsel for the NYCC,

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Summary ofPleadi'ng ~ 7

 

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asking for additional evidence She provided additional evidence that is now
included in the amended complaint Ms. Ball also asked for a copy of what
she believed was a contract, to which Mr. Hossain never responded l\/Is.
Ball followed up by phone and email several times about the “contract” with
Mr. Hossain, and received no response

41. In a letter dated August 4, 2017, Ms. Ball received a letter from the
comptroller’s office stating that her claim was denied because of her
completion of the aforementioned application and acknowledgement
(Exhibit H). On October 17, 2017 Mr. J ames Yang confirmed on the
telephone that this was the only document their office had received. Mr.
Yang told Ms. Ball that he was mailing a written confirmation of that fact.

42. After numerous calls to the comptroller’s office, l\/ls. Ball received the
“Council Application for Unpaid Positions and Orientation Receipt and
Acknowledgement (Unpaid Positions)” in the mail on October 16, 2017 ,

after which she promptly amended her complaint

CLAIMS FOR RELIEF
FIRST CLAIM: FAIR LABOR STANDARDS ACT
29 U.S.C. §§ 201 et seq.
43. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs
44. Defendants are employers within the meaning of 29 U.S.C. §203(d) and
§206(a).
45. Plaintiff was an employee within the meaning of 29 U.S.C. §203(e) and
§206(a).

Summary of Pleading ~ 8

 

 

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1 46. Defendants violated Plaintiff’s rights under the Fair Labor Standards Act,
2 29 U.S.C. §203, §206(a), and §215(a)(2) by failing to compensate Ms. Ball
3 for her labor.
4 47. The Federal Labor Standards Act requires that Ms. Ball be paid for her
5 internship as she was not the “primary beneficiary” of this internship when
6 applying the balancing test for the legitimacy of unpaid internships
7 articulated in Glatt v. Fox Searchlight Pz'ctures, Inc., 811 F.3d 528, 536-37
8 (2d Cir. 2015):
9 i. Ms. Ball expected to be paid and her employer indicated she
10 ' Wouid be para
ii ii. Her work was similar to that of paid employees and many
12 aspects of her work were dissimilar to clinical educational
13 training, including the expectation that she already have the
14 skills necessary to produce newsworthy photographs and that
15 she be available at all hours
16 iii. Ms. Ball’s internship was not tied to her formal education and
17 she received no academic credit
18 iv. Ms. Ball’s internship continued past the point that she was
19 learning a significant amount of new information
20 v. Ms. Ball’s work displaced the work of paid employees as she
21 performed identical work to paid NYCC photographers and
22 would sometimes substitute for her supervisor.
23 vi. Ms. Ball ended her internship expecting to be paid and her
24 employer continued to indicate that she would eventually be
25 compensated months after the conclusion of her internship.
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‘ Summary 0fP1eading-9

 

 

 

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SECOND CLAIM: NEW YORK STATE CONTRACT LAW

48. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs

49. Defendant William Alatriste violated New York State Contract Law by
making an offer to pay Ms. Ball $15.00 an hour for her work. Ms. Ball
accepted the offer and performed the agreed-upon work, and Defendant
Alatriste breached the contract by failing to pay her. Ms, Ball made the
decision to accept the photoj ournalism position, instead of other positions,
because she reasonably relied on l\/Ir. Alatriste’s promises of payment, to her
own detriment.

50. The acknowledgement which l\/ls. Ball signed did not clearly articulate that
a condition of her internship was that it be unpaid, and did not include any
other promise on the part of either Ms. Ball or the NYCC. This
acknowledgement does not constitute a contract

51. To the extent that the NYCC relies on this acknowledgement as an
agreement for Ms. Ball to not be paid, Defendant William Alatriste
fraudulently and/ or materially misrepresented the acknowledgement when
he assured her that she would still be paid despite the parenthetical subtitle

of “unpaid intern” and that signing the form was a necessary formality

THIRD CLAIM: NEW YORK LABOR LAW (WAGE THEFT
PREVENTION ACT)
52. Plaintiff realleges and incorporates by reference all allegations in all
preceding paragraphs
5 3. To the extent that any or all Defendants are subject to New York Labor
Law, Defendants violated the NYLL Article 6 §§ 190 et seq. by failing to

Summary of Pleading - 10

 

 

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pay Ms. Ball as promised, failing to pay her the minimum wage, failing to
provide her with a written notice of pay schedule within ten days of hiring

her (or at any point), and failing to provide her with a pay statement

PRAYER FOR RELIEF
WHEREFORE, the Plaintiff respectfully requests that this Court:

. Assume jurisdiction over this matter;

. Order the Defendants to pay l\/ls. Ball $3,543.75 ($15.00 per hour for

23 6.25 hours) for work she performed from June 14, 2015 to August 29,
2015;

. Award Plaintiff the liquidated damages she is entitled to pursuant to 20

U.S.C. §§ 201 et seq.;

. Award Plaintiff any damages she is entitled to under the NYLL;
E. Award any attomey’s and Court fees plaintiff may incur;

. Award such other and further relief that this Court deems just and proper.

Dated this 22nd day of December, 2017

 

l</ladeleine C. Ball, Pro Se
25-61 34"‘ St., Apt l
Astoria, NY 11103

(203) 858-9978

Summary of Pleading ~ 11 ,

 

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December 22, 2017

l\/ladeleine C. Ball
25-61 34th St., Apt. 1
Astoria, N.Y., 11103
(203) 858-9978

EXHIBITS DOCUMENT
AMENDED 12/22/17

 

EXHIBIT Al: l\/Ir. Alatriste indicating that l\/ls. Ball will be compensated

Willtam Alatriste swi§iiam.atatrism@gmati.c<:mw 713‘1/15 ' _ w l v
te ma d "
After a month of pushing and pullmg. 1 think tva finally managad to get through to the powers that control flow of fundsx l'm

almost certain that !`ll be able to pay your for the tatemshtp. Hopafully you've bean keeping record of your hours, Witl ta¥k
more on Monday.

   

Madetema Ba!¢rmaaaiame,t:,t;>a!t@gmaii.ccmr~ 811/15 " 4a 0 »'
fe Wzttiam »~ y

Sigti ct relief. Thank' you so much for working on twa l can‘t ten you now hawaii that will be, 1’vatrackad avery hour since
day 1. Let. me know what 1 need to 450 to make this possible

309 you on Monday.

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Case 1:17-cv-O4828-.]|\/|F Document 18 Filed 12/22/17 Page 13 of 34

EXHIBIT AZ: Mr. Alatriste indicating that Ms. Ball has been promoted and that payment will be
made.

 

 

 

EXHIBIT A3: Mr. Alatriste informing Ms. Ball that she can continue to work during the
academic semester of fall 2015 paid.

 

 

 

 

 

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EXHIBIT A4: Mr. Alatriste says he is willing to discuss compensation with Ms. Ball though he
never did.

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williamtalzrtriete@ontettoom
M Modetelne Batl<mrioeteinoic.tzall@grnnit.oorn> 1;7/15 .; h o m w §§ v
ita VV\H ~

Stxow details
Hapoy New ¥ear Bitl, ... .

How are you doing?

Baok in Octobor. you mentioned a photo project regardan Brool<lyn youth. l am available this month and would like to learn
more about ttr ll there are any other events that you need covered this month, l am available and interested

th the next week, twill aopiy lor a NYF’D Press Pass. Graduatlon ls in May and l need the proper materials to enter lite
workforce

Soeal<tno ot. t‘m compiling o portfolio otto need the wedding photos. Whon la the most convenient time and place to pick up
the memory eard?

t have questions regarding summer compensation that are best discussed on the phone or in person

thank yor.=. l’ll give you a hall at the end ot the week

Sincorely,

Mao'oleine

William Alatriste ewrtttam,alatrlato@gnnallcome 1/7!16 §~1 v Wlli Alatri$t€t

re me t ; written.alatrsse@gmallmm
Madelolne-- U m 1211 y

Grorit t'o hear from you. Sorry for the silence on my end. l hit a anog health wise o tow months back and am currently working $how dennis
throug t lt, . v . . _

l have hernia surgery scheduled next Wettnooday t it

might t)o postponed because l‘rrt getting over a

vlrue) and l‘ll be out tor a tow weeks mlnimiirn.

lt l go forward with surgery ore you available to stop in from 13th to the 26111 or so?
John will he returning from a trip by then and might be able to cover from that point on1

toto talk in person ahoot compv l‘ll give a call tomorrow or over the weekend Tooey le my wile’s Ctirlstrnas so big family get
together tonight

Morry C.hristrnas to you as well--it you celebrate around this tlme.

Bill
§§ Maosleine earl <maooleine.c_t>all@gmaii,cem> 177/16 *'~, ' thl Alatriste
to Wlii »» ` wltllam.nlatrlsle@grnalt.oom
Ht Bill, U tit 1171 v
Nr) worries. Wishlng you a suooesslul surgery and qolcl< recovery it you and your lanilly need nnythtng»» oomoone to watch owe details

the klds, on onand»»»~ please don‘t hesitate to call. l’m still right around the corner
l‘rh available to step in on the 13th onwardov t_ookirig forward to lt.

Mrtrry Chrtstn‘.ast En;`oy the celebration tonight

Bost.

Marileletne

 

 

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EXHIBIT Bl: Mr. Alatriste instructing Ms. Ball at 8:38pm to cover a press conference for the

NYCC in Staten Island for press and social media Photo later appeared in the Staten IsZana’
Advance.

i\/|MS l .23 p|\/l

8$38 P|\/l |t/l|\/|S
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EXHIBIT B2: At 11:51 P.l\/I., Mr. Alatriste giving Ms. Ball and Mr. McCarten instructions for
an assignment

11 ‘| PM MMS
Will Alatriste

 

 

 

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EXHIBIT B3: At 11:58pm, Mr. Alatriste giving Ms. Ball and Mr. McCarten instructions for an
assignment that Would be distributed to City Hall beat reporters

s ..m¢h 12:00 Ar_/i

Keep it straightforward »
and make,c|ea`n images

11:58 PM MMS
Wi|| Alatriste

 

 

press.

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attache<d_ or<"your y
considerat n. P|ease
credit if published

2;52 PM MN|S

 

 

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EXHIBIT B5:Mr.A1atriste providing Ms. Ball With detailed instructions to shoot a precise
photo for media.

 

 

EXHIBIT B6: Mr Alatriste instructing Ms. Ball to identify as an independent photographer not
an intern, in conversations With press

MM!> 9:40 AM

Wi|| Alatriste

42 AM M|\/|S
Wi|| Alatriste

    

9. 47 AM M|VIS `

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EXHIBIT B7: Mr. Alatriste sending Ms. Ball 011 an assignment in his stead, as his “proxy.”

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h order to get to
other ph os:. ' '

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EXHIBIT BS: Mr. Alatriste letting Ms. Ball know that based on her Work at the NYCC, she Was
on track to qualify for NYPD-issued press credentials, Which are only granted to serious Working

members of the press.

'l '|:5'1' PM MMS
Wi|| Alatriste

 

 

 

 

 

 

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EXHIBIT B9:

l of 3: Mr. Alatriste giving Ms. Ball and Mr. McCarten instructions to shoot a press conference
that Was also being shot by Mayor Bill de Blasio’s photographer Ms. Ball and Mr. McCarten
Were the sole NYCC photographers covering the conference and did so on the behalfof the
NYCC. Note that Mr. Alatriste messages them after midnight

12. 4 AN| MMS
Wi|l /\la

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Wil| Alatriste

    

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12;07 AM MMS
Wi|| Alatriste

12:08 AM MMS
Wil|Aia\riste

 

 

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EXHIBIT BlO:
l of 4. Mr, Alatriste giving Ms. Ball and Mr. McCarten instructions to shoot an event featuring
Council Member Corey .Tohnson. Ms. Ball shot this event Without supervision

'Just~get a;phot_o that
communicates issues for
residents 7 `

1;27 PM MMs

    

'Ai'ri'§hif""'" `

 

 

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2 of 4. Mr. Alatriste demonstrating that Ms. Ball is Working as a press photographer representing
the NYCC. Chelsea Now is a community paper in the neighborhood of Chelsea. Ms. Ball shot
this event Without supervision

1229 PM MMS
wl

MMS 1:29 PM
Will Alatriste

 

.. v . v .ilii"mi:£%£i PM
John McCarten,`Wlil Alat;.. t

tjimtt§) rummaging §
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Will Alatriste

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1:33 P|V| MMS

 

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4 of 4. Note that “Write off the photo” means that the editor of Chelsea Now might desire to run
the photo that Ms. Ball took in their publication

 

1135 P|\/l MMS

 

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EXHIBIT Bl l: Mr. Alatriste giving Ms. Ball instructions to cover an event featuring Council
Majority Leader Jimmy Van Bramer, which she did Without supervision

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Will Alatriste

7:30 Pl\/| M|\/|S
Will Alatriste

 

 

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EXHIBIT B12:

l of 2. Mr. Alatriste giving detailed instructions for Where to position Ms. Ball to photograph a
hearing in City Hall Chambers. Ms. Ball shot this Without supervision and the photos Were used
for the NYCC’S benefit Ms. Ball’s appeared in the Canarsz`e Courier.

  

 

 

 

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2 of 2. Additional instructions given

 

 

 

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B 13: Mr. Alatriste giving Ms. Ball instructions to cover a Town Hall featuring City Council
Speaker Melissa Mark-Viverito. Ms. Ball shot this Town Hall Without supervision

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EXHIBIT Cl: Front page of the Amsterdam News, 8/6/15-8/12/15. Ms. Ball took the photo for
the NYCC.

THE NEW BL.ACK VlEW
veil 106 No. 32 l Auqust a 4 mem 12, 2015

U.S. EP|DEM|C

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Legionnaires’ disease
creates health scare for city

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on Black women?

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EXHIBIT C2: Staten [Slcmd Advance, 7/21/15. Photo taken by Ms. Ball for the NYCC.

Budggti support for Staten Island cheered by locals

  

Ct>t.tn woman tluhl Hoee, Spoakat Mt)!l@sa l*vlat€¢»\!tvet‘lto mtd M'mmlt\,‘ tender Staven Mattm> announce budget funding for
titan §siaztd. (1‘1!111’)¢,~'1)1`111.1 il Ball !t;t mo Non Ysz City <!r;t¢)m:ii}

 

 

 

B'y mma Sartdera |asanders@siadvance.<mm tmt Prlttt
Emtzi| the author § Fotlow on Twlttev l'_:*Em:~tlt
t)n 1lul»; 111 , ZOfS at 5;;‘1£2> F°M, updated 1july 21, 2015 at ‘;l:ZS/$ WM

CI'I`Y !-IALI.. ~~ Statet’t Island's Council members CITY HALL
make a point of bringing up the borough at City REFORT
I-~Iall.

 

 

Josenl‘t Bom|it` runnlrn‘x unom)osed ,MQS"!."RE'§d » '

 

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EXHIBIT C3: The Times-Lea'ger, 8/14/15-8/20/15. Photo taken by Ms. Ball for the NYCC.

 

Queens Theatre raises curtain 012 new yeaf“

Season featuran dance, theater and family performances runs from October to May

BY MERL£ Eth

ll was “miollicr opening
another show" ln Flushlng
Meadows Comna Park when
lawmakers and the bomugh’s
performing axis crowd gath-
ele to talk about the 2015‘2016
season nl inc Q_neens Theali*e.

The 27th season, which line
been extended from October m
May, inululles dance, drama
and family-friendly shown

"'l‘i\ls will be nn excep'
llonal season one mm prom~
isess ll\rilling performances
and joyml moments;’ 'l':lryn
Sacranmne` the tliealer’s man
wing cllreclnr. sai<l. “l know
ilial our audiences will enjoy
these sllnws_. and hope thai
people who have never been 10
Queens Thealre will wine to
the theater for the first lime."

Thinga kick off mili‘Oc~
cover with performances by
lhe Long island City-based
.lessica Lnn;g ll>anee company
Lnng_. who started me lroupc
in 2011, is known for her cno~
i'eography lhat lakes classic

 

City Counc.llman limmy Van limmer speaks during lhe announcement of
Queens iheatre's 2015-2016 season in Flus'nlnq Meadows Corona Fark.
rhoio comm M.zdeleine Ball

ballet movements and turns
them into contemporary
works.

ln tile dance neries, Bmok»
lyn'basecl company Ronald
K. Browm’llvldence, A Dance
Coxnpany; Bill ‘i’. Jvnes!Arnle
Zane Duan Compzmy; and Ar'
genrine dance company Che
hinlamho will all have rnns.

'I'iiealer nplluns in Oclol)e'r
begin with llenee 'l°ayior‘s "`My
l,lfe on n l)lei," n one/woman
show from the TV and film nc»
lresa, flint delalls her buille
with losing weighi.

Olhe'r siage pmclnci'ion:l
on tap l`<)r lim season include
"'l`o Kill n Mc)cl<i.ixgl)lrxl," the
awnrd~winn inn musical ".Mur-
der for T\\¢o" and a new adnp~
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Mnnlmtwn~basell Aqullu 'l`lw'
ninen

The family aec~les will fea~
lure four shows based on he~
loved children‘s hooks, includ~
ing “Mndullnr: and inc Bad
Hal;" “Tlie Lion, the Wllch and
the Warzlml)e;" “Henry and

Mudge" ami "Cux~l'olca George:
The Goldr.»ci idealle

Famlly shows also include
the Qneens Thenlm debul
uf "Under me Tangle” by the
Treeliouse Sliakers. and the
return cline innovative Lighl~
wire Theuler with its iiewesl
production "Mooli Moiise."

“Tlie Qixeens Tlienm: ix
helpan lead the way toward
ensuring evei"y New i"nz'kei‘
has access to ll widelv;lrlely
of nrlisl.lc progmx.uming and
tile cullur‘al experiences illny
lles»n‘ve,” Councilmnn Jilnmy
¥'aii Brl‘mler (l`)~Sunnyslcln),
snid. "As we liman inc 2015-
2(>16 snasc)n, Quzn:ns Tllzeal§e
promises in give patrons the
Qpporluni.ty w enjoy qualliy
cultural programming thai
will promote tile diversity of
our great borough that makes
Q\xezms a top desiimlinn for
the am and cl\llure."

Mow events will l)e added
throughnui the season, B`or
more informnl.lnn, vigil the
lhcnier's webslie at queensihe»
aire.org.

 

 

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EXHIBIT C4: This photo Was taken by Ms. Ball for the NYCC and ran in the Canarsz'e Courier
en 8/13/15. Councilinan Williams discussed Catherine MeAuley High School before Mayor Bill
de Blasio signed legislation to designate East 37th Street and Foster Avenue as “Catherine
McAuley High School Way.”

 

 

 

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EXHIBIT C5: This photo Was taken by Ms. Ball for the NYCC and ran in the West Sz`de Rag on
8/10/15. Council members Helen Rosenthal and Mark Levine joined Yankee Manager Joe
Girardi at Lasker Pool to hand out Suminer Meals to children

 

EXHIBIT C6: This photo Was taken by Ms. Ball for the NYCC and ran in the Kings County

Politz`cs on 6/29/17..

Kings County Politics

  

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A point not lost on Mayor Bill do Blasio, who with blast
Flatb\xsh City Cnunoilman Jumnmm Williams and othox's,
Szxtm'clay, unwile a plaun in Mmiha£tan on the corner of Wall
Strec»,t and Wmm‘ Str'cet marking `tlio site of the colonial"m’a Wz\ll

Stc‘e€~.t slave market

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I`c) build a jim futux'e, we must u:idm*:zmml the injustices of this
past Altlic)ngh it is not a proud moment in our city"s histmy, slave
labor played a role in Ne\\'Yor`k City’s developmcnt. and it must
be acknowlcdgod,“ said Mayor Bill do B}asio. "’l'his plaun
commemoratas the suffering and the contributions of those who

passml through the Wall Stx'eot slave marketh

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inclusti'§os, ixieludi:‘)g farming and public marks Allhc)ugh the transatlantic slave !';'acle was outlawed by the LLS. C:)ngi‘c?ss

in 1891 nor all slnws were freed in blow York until 1841,

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ExHiBIT Di :_"

Below are several examples of iny work appearing on the NYCC’s Twitter account and other
accounts affiliated With the NYCC. This is also not an exhaustive list but several good examples
l\/ly photos Were also used on the NYCC’s Instagrain and Facebool< accounts. Note that l am
tagged in the Tvvitter posts as @rnadeleinecball.

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NYG Council m @NYGCGMM » 18 Se;:i wis v
Grsat images i:zy intern @meds§aipaebsll, who was limited to just two fixed
lansss. No zooms. She made it workl

 

 

 

 

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NYC Council at @NY€ECMM;E! » 2? sue f£€;mz w

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Speai<er @Misi\§vsriio atlantis Brenx town bail meeting on hegiemairs*s
f}isease. Photos by intern @madeiaiwaeimii

 

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